Case 0:22-cv-60189-CMA Document 36 Entered on FLSD Docket 05/13/2022 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

                                Case No.: 0:22-cv-60189-CMA

   Ingrid Farquharson,

          Plaintiff,

   v.

   Bank of American, N.A.; JP Morgan Chase
   Bank, N.A.; Experian Information
   Solutions, Inc.; Equifax Information
   Services, LLC; and TransUnion, LLC,

          Defendants.
                                             /


        NOTICE OF DISMISSAL AS TO DEFENDANT EXPERIAN INFORMATION

                                     SOLUTIONS, INC.

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(1), notice is hereby given that Defendant

  Experian Information Solutions, Inc. may be dismissed with prejudice, with the parties

  to bear their own fees and costs. Plaintiff’s claims against Bank of America, N.A. and

  JPMorgan Chase Bank, N.A. remain pending.

         Dated: May 13, 2022

                                         /s/ Trescot Gear
                                         Gear Law, LLC
                                         1405 W. Swann Ave.
                                         Tampa, FL 33606

                                         Mailing Address:
                                         McCarthy Law, PLC
Case 0:22-cv-60189-CMA Document 36 Entered on FLSD Docket 05/13/2022 Page 2 of 2




                                         4250 North Drinkwater Blvd, Suite 320
                                         Scottsdale, AZ 85251
                                         Telephone: (602) 456-8900
                                         Fax: (602) 218-4447
                                         Attorney for Plaintiff



                                CERTIFICATE OF SERVICE

      I hereby certify that on May 13, 2022, I electronically transmitted the foregoing

  document to the Clerk’s Office using the ECF system for filing and transmittal of a Notice

  of Electronic Filing to all CM/ECF registrants of record in this matter.


                                         /s/Trescot Gear




                                               2
